
PER CURIAM.
H.R.S. has standing to bring this action pursuant to section 39.14, Florida Statutes (1985). See In Re Interest of K.A.B., 483 So.2d 898 (Fla. 5th DCA 1986). The lower court’s actions in recommending placement options for the minors in this case were in violation of the mandatory dictates of section 39.09(3)(e), Florida Statutes (1985). See T.D. v. State, 486 So.2d 40 (Fla. 2d DCA 1986); T.A.W. v. State, 455 So.2d 582 (Fla. 5th DCA 1984); W.Y. v. State, 414 So.2d 659 (Fla. 1st DCA 1982); L.J.N. v. State, 411 So.2d 1349 (Fla. 1st DCA 1982). This case is reversed and remanded for entry of an order in compliance with the statute.
REVERSED and REMANDED.
DAUKSCH, COBB and SHARP, JJ., concur.
